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 Attorneys for Defendants Stallion Express, LLC, Timothy Kravitz, and Christopher Sahadi

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

 STRATEGIC DELIVERY SOLUTIONS, LLC,

                  Plaintiff,
                                                         Case No. 2:18-cv-08779-MCA-SCM
 v.
                                                         NOTICE OF SERVICE OF
 STALLION EXPRESS, LLC, TIMOTHY
                                                         DISCOVERY
 KRAVITZ, CHRISTOPHER SAHADI, JANE
 DOE(S) 1-3, and JOHN DOE(S) 1-3,

                  Defendants.

        PLEASE TAKE NOTICE that, on December 12, 2018, the undersigned counsel for

 Defendants Stallion Express, LLC, Timothy Kravitz, and Christopher Sahadi served their

 Supplemental Objections and Responses to Plaintiff’s First Set of Request for Production of

 Documents Propounded Upon Stallion Express, LLC upon the counsel of record for Plaintiff set

 forth below, via email:

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 Dated: December 12, 2018   BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP


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